Case 8:20-cv-00043-JVS-ADS Document 127-1 Filed 08/03/20 Page 1 of 2 Page ID
                                 #:1613




 1                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
 2
 3 Bureau of Consumer Financial Protection,
 4               Plaintiff,
                                                  Case No.: 8:20-cv-00043-JVS-ADS
 5         vs.
                                                  DECLARATION OF KATHLEEN L.
 6 Chou Team Realty, LLC et al.,                  KRANINGER, DIRECTOR OF
                                                  PLAINTIFF CONSUMER FINANCIAL
 7               Defendants.                      PROTECTION BUREAU, REGARDING
                                                  RATIFICATION
 8
 9
10 I, Kathleen L. Kraninger, declare as follows, pursuant to 28 U.S.C. § 1746:
11        1.    I am the Director of the Bureau of Consumer Financial Protection. I
12 have served in that capacity since December 11, 2018. I was nominated to this
13 position by the President on June 20, 2018 and confirmed by the Senate on
14 December 6, 2018.
15      2.    In January 2020, the Bureau filed the above-captioned lawsuit against
16   Defendants Chou Team Realty, LLC; Lend Tech Loans, Inc.; Docu Prep Center,
17 Inc.; Document Preparation Services, LP; Certified Doc Prep, Inc.; Certified Doc
18 Prep Services, LP; Assure Direct Services, Inc.; Assure Direct Services, LP; Direct
19 Document Solutions, Inc.; Direct Document Solutions, LP; Secure Preparation
20 Services, Inc.; Secure Preparation Services, LP; Docs Done Right, Inc.; Docs Done
21 Right, LP; Bilal Abdelfattah; Robert Hoose; Eduardo Martinez; Jawad Nesheiwat;
22 Frank Anthony Sebreros; and David Sklar. The Bureau's complaint also named
23   Thomas Chou and Sean Cowell as defendants and relief defendants. The Bureau's
24 complaint also named Kenneth Lawson; Cre8labs, Inc.; XO Media, LLC; and TDK
25 Enterprises, LLC as relief defendants.
26         3.    On June 29, 2020, the Supreme Court issued a decision in Seila Law
27 LLC v. Consumer Financial Protection Bureau, No. 19-7, 2020 WL 3492641 (U.S.).
28
                 DECLARATION OF KATHLEEN L. KRANINGER REGARDING RATIFICATION
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Case 8:20-cv-00043-JVS-ADS Document 127-1 Filed 08/03/20 Page 2 of 2 Page ID
                                 #:1614




 1 That decision held that a provision of the Bureau's organic statute that permitted the
 2   President to remove the Bureau's Director only for "inefficiency, neglect of duty, or
 3   malfeasance in office" was unconstitutional. The Court accordingly severed that
 4   provision from the statute. In light of this decision, I understand that the President
 5 may now remove me with or without cause.
 6         4.     In my capacity as the Bureau's Director, I have considered the basis for
 7   the Bureau's decision to file the above-captioned lawsuit against Defendants and
 8   Relief Defendants.
 9         5.     On behalf of the Bureau, I hereby ratify the decision to file the above-
1O   captioned lawsuit against Defendants and Relief Defendants.
11         I declare under penalty of perjury that the foregoing is true and correct.
12         Executed onQv/q           Cj   , 2020.
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15
                                                         leen L. Kraninger
16                                                   Director
17                                                   Consumer Financial Protection Bureau

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                 DECLARATION OF KATHLEEN L. KRANINGER REGARDING RATIFICATION
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